WVALCHESKE

: Wisconsin's Employment Law Firm” ™

    
   

 

July 13, 2017

Via facsimile only
(920) 437-2868

George Burnett, Esq.

Jodi Arndt Labs, Esq.

Conway, Olejniczak & Jerry S.C.
231 South Adams Street

P.O. Box 23200

Green Bay, WI] 54305-3200

Re: Fast vy. Cash D LTD

Dear Counsel:

Enclosed please find Plaintiff's Answers and Objections to Defendant’s [Second Set] of Interrogatories
and Request to Produce Documents. The client signature page is forthcoming.

We assume that there was a typo with regard to the titling of the Defendant’s discovery requests as we did
not receive a first or initial sct of discovery requests from Defendant. If another set of discovery requests

was sent to Plaintiff, please advise.
Thank you.

Sincerely,

WALCHESKE & LUZI, LLC
S/ Kelly L. Temeyer

Kelly L. Temeyer

Attorney at Law
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UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF WISCONSIN
GREEN BAY DIVISION

 

TIMOTHY J. FAST,
on behalf of himself and
all others similarly situated,

Plaintiff,
Case No. 16-CV-1347

Vv.

CASH DEPOT LTD.,

Defendant.

 

PLAINTIFF’S ANSWERS TO DEFENDANT'S [SECOND SET] OF
INTERROGATORIES AND REQUEST TO PRODUCE DOCUMENTS

 

GENERAL RESERVATIONS AND OBJECTIONS

1, These responses are madc on the basis of information presently available and
located by Plaintiff, and Plaintiff reserves the right to modify his responses and/or objections with
such additional information as subsequently may be discovered.

2. The responses and objections hercin are made solely for the purpose of this action.
Each response is subject to all objections as to competence, relevance, materiality, propriety and
admissibility and to any and all other objections on the grounds which would require the exclusion
from evidence of any statement herein, if any interrogatory were asked of, or any statement
contained herein were made by a witness present and testifying in court, all of such objections and
grounds are expressly reserved so that these may be made at trial.

3, Plaintiff objects to each of the interrogatories to the extent that they seek
information regarding communications between Plaintiff and his legal counsel on the ground that

such communications are privileged and not subject to discovery. No response is intended to waive

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such privilege, including the inadvertent disclosure of any privileged information which resulted
from Plaintiff's good faith effort to thoroughly respond to these interrogatories in the required
period of time. Accordingly, Plaintiff reserves the right to recall any privileged information that

was inadvertently disclosed in responding to these Discovery Requests.

INTERROGATORIES

INTERROGATORY NO. 1: With regard to the costs incurred or expended to date on your
behalf for the above-referenced litigation, provide a description of each item of costs, the amount
of such cost, indicate whether the cost has been paid, the amount of the payment, and the person
or entity making the payment. Attached to your answer any document corroborating any aspect of
your answer.

ANSWER:  Piaintiff objects to this Interrogatory as overbroad and requesting information
and/or documents protected by the attorney-client privilege and/or attorney work product doctrine.
Subject to and without waiving said objection, as of July 12, 2017, Plaintiff has incurred
approximately $402.35 ($400 for the filing fee paid to the Eastern District of Wisconsin and $2.35
in postage) in costs related to the above-referenced litigation. Because litigation of this matter is
ongoing, Plaintiff reserves the right to amend this response to reflect additional costs, as incurred.
Further, by answering this Interrogatory, Plaintiff has not and does not agree to accept
reimbursement for costs in the amounts stated herein as a form of settlement of his claims against
Defendant.

INTERROGATORY NO. 2: With regard to the atlorney’s fees incurred or expended to
date in this litigation, (A) describe the total amount of the fees incurred, the nature of each legal
service and/or activity for which any charged was made for legal services, the amount of time

spent on each such legal service and/or activity, the amount of the charged for such legal service

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and/or activity, and state whether payment has been made, and if so, by whom an when; (B) if the
Icgal charges were based on increments of time, such as an hourly charge describe for cach person
providing legal service and/or activity, the amount of the charge, indicate the capacity (ie.
attorney, paralegal, administration staff, etc.) of the person performing such legal service and/or
activity, describe the qualifications of such person to perform those tasks. Indicate the nature of
the fee agreement between you and your attorneys: this means whether the fee agreement is hourly,
a flat fee, or contingent based on recovery or any other arrangement.

Attach to your answer, any document corroborating any aspect of your answer.
ANSWER: Plaintiff objects to this Interrogatory as overbroad, unduly burdensome, not
reasonably calculated to lead to the discovery of admissible evidence, and requesting information
and/or documents protected by the attorney-client privilege and/or attorney work product doctrine.
Subject to and without waiving said objection, as of July 12, 2017, Plaintiff has incurred
approximately $12,931.00 in attorneys’ fees related to the above-referenced litigation. Because
litigation of this matter is ongoing, Plaintiff reserves the right to amend this response to reflect the
additional attorneys’ fees he continues to incur. Further, by answering this Interrogatory, Plaintiff
has not and does not agree to accept reimbursement for his attorneys’ fees in the amount stated

herein as a form of settlement of his claims against Defendant.

As to objections only,

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Dated this 13th day of July, 2017.

WALCHESKE & LUZI, LLC
Attorneys for Plaintiff

By: s/ Kelly L. Temeyer
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